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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §
                                                            Case No. 2:-13-CR-5-4-JRG-RSP
                                               §
RUBY FAYE COOPER                               §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 11 in an

indictment with a violation of 21 U.S.C. ' 841, Distribution of Heroin. Having conducted a proceeding in

the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the

Court. accept the defendant=s guilty plea. The parties waived their right to file objections to the

Findings of Fact and Recommendation. The Court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed May 17, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 11 of the indictment in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 17th day of May, 2013.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE


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